      Case 14-09753-RLM-7A           Doc 351      Filed 02/07/19     EOD 02/08/19 00:32:03         Pg 1 of 7
                                      United States Bankruptcy Court
                                      Southern District of Indiana
In re:                                                                                  Case No. 14-09753-RLM
Fennis S Bledsoe                                                                        Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0756-1           User: admin                  Page 1 of 5                   Date Rcvd: Feb 05, 2019
                               Form ID: b318                Total Noticed: 181


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 07, 2019.
db             +Fennis S Bledsoe,    21944 Riverwood Avenue,     Noblesville, IN 46062-9560
cr             +Ameriana Bank,    c/o Joel E. Harvey,    214 South Main Street,     New Castle, IN 47362-4215
cr             +Bruce McIntyre,    14350 Mundy Drive,    Ste. 800-288,     Indianapolis, IN 46060-7223
tratty         +Dale & Eke, P.C.,    9100 Keystone Crossing, Suite 400,      Indianapolis, IN 46240-2100
cr             +Indiana Members Credit Union,     c/o C. Daniel Motsinger,     Krieg DeVault LLP,
                 One Indiana Square,    Suite 2800,    Indianapolis, IN 46204-2079
acc            +Marietta Financial Services, Inc.,     4622 W 72nd Street, Suite C,     Indianapolis, IN 46268-2396
cr             +Paul and Associates Business Consultants LLC,      14074 Trade Center Drive, Suite 221,
                 Fishers, In 46038-4576
cr             +Provident Funding Associates, L.P.,     c/o J Peterman Legal Group, Ltd.,
                 165 Bishops Way, Suite 100,     Brookfield, WI 53005-6215
13120533       +ADP,   One ADP Drive MS-100,     Augusta, GA 30909-9373
13120534      ++AMERIANA BANK,    1311 BROAD STREET,    PO BOX 630,    NEW CASTLE IN 47362-0630
               (address filed with court: Ameriana Bank,       2118 Bundy Avenue,    New Castle, IN 47362-1048)
13120542        AT&T Advertising Solutions,     PO Box 5081,    Carol Stream, IL 60197-5081
13120544      ++AUTO OWNERS INSURANCE COMPANY,     ACCOUNTS RECEIVABLE,     PO BOX 30660,   LANSING MI 48909-8160
               (address filed with court: Auto Owners Insurance,       PO Box 30315,    Lansing, MI 48909-7815)
13120535       +American Estate & Trust, LC,     c/o Law Office of Alan Culwell, LLC,
                 11988 Fishers Crossing Drive, Suite 200,      Fishers, IN 46038-2714
13428419       +American Estate & Trust, LC FBO Kevin Cocquyt Trad,       Attn: Brian G. Tillotson, Esq./Accuplan,
                 515 E. 4500 S., Suite G-200,     Salt Lake City, UT 84107-4503
13120543       +Atlanta Utilities,    PO BOX 133,    Atlanta, IN 46031-0133
13120545       +BancFirst, First Bartlesville Bank,     300 SE Frank Phillips Blvd,     Bartlesville, OK 74003-3632
13120546       +Barclay/Kohl’s,    Po Box 8803,    Wilmington, DE 19899-8803
13120547        Bartletsville Natural Gas,     PO Box 401,    Oklahoma City, OK 73101-0401
13120548        Bertram Dental Lab,    PO Box 1853,    Appleton, WI 54912-1853
13120549       +Bishops Pond Condominium HOA,     6276 Bishops Pond Lane,     Indianapolis, IN 46268-2572
13204560       +Bishops Pond Condominium HOA, Inc.,     C/O Steven C Earnhart, Esq.,
                 151 N. Delaware St; Suite 1900,     Indianapolis, IN 46204-2505
13120550       +Brandon Bledsoe,    11995 Deerwalk Drive,     Cicero, IN 46034-9306
13120551        Brasseler USA One,    Brasseler Blvd,    Savannah, GA 31419
13120552       +Brent Kirby,    c/o G. Douglas Abrams, Esq.,     450 East 96th Street - Suite 500,
                 Indianapolis, IN 46240-3760
13120553       +Brownstown Hardware,    110 S Main Street,     Brownstown, IN 47220-2017
13120554       +Brownstown Sewage Works,    200 West Walnut Street,     Brownstown, IN 47220-1445
13120555       +Bruce McIntyre,    14350 Mundy Drive, Suite 800-288,      Noblesville, IN 46060-7223
13120557       +Campbell Hightower & Adams,     4645 S. Lakeshore Drive, Suite 11,     Tempe, AZ 85282-7152
13120558       +Centers for Medicare & Medicaid Services,      7500 Security Boulevard,    Baltimore, MD 21244-1849
13120559       +Central National Bank,    1415 SE Washington Blvd,     Bartlesville, OK 74006-4522
13120560       +Charles R. Howard,    c/o Richard Wayne Greeson,     801 West 35th Street,
                 Connersville, IN 47331-3492
13120561        Chase Bank,    PO Box 659754,    San Antonio, TX 78265-9754
13120562       +Cicero Ceramics Dental Lab,     PO Box 705,    Cicero, IN 46034-0705
13120563       +Cincinnati Insurance,    6200 South Gilmore,     Fairfield, OH 45014-5141
13120564       +City of Bartlesville,    401 S. Johnstone,     Bartlesville, OK 74003-6656
13120566       +Clinical Supply Company,    9230 Seward Road,     Fairfield, OH 45014-5457
13120569        Colltech Inc.,    PO Box 47095,    Minneapolis, MN 55447-0095
13120570       +Columbia Insurance Co.,    124 Iowa Avenue,     PO Box 2180,    Salina, KS 67402-2180
13120571        Comcast Cable,    Attn: Collections,     PO BOX 3005,     Southeastern, PA 19398-3005
13120572        Cornerstone National Insurance Company,      PO Box 2057,    Kalispell, MT 59903-2057
13120574       +Courtney Scott,    Office of the Attorney General,     302 West Washington St., 5th Floor,
                 Indianapolis, IN 46204-4701
13120575       +Dana Stephenson,    PO Box 6,    Walton, IN 46994-0006
13120576        Darby Dental,    PO box 26582,    New York, NY 10087-6582
13120577       +Darlene Jackson,    16 Southdowns Drive,     Kokomo, IN 46902-5115
13120578       +David Hodges,    INCO Electric,    2656 SE Washington Blvd,     Bartlesville, OK 74006-7614
13120579       +David King, Esq.,    117 W 5th Street,     Bartlesville, OK 74003-6651
13120580       +David Lambert,    c/o Paul H Sinclair, Esq.,     One American Square, Suite 2900,
                 Indianapolis, IN 46282-0019
13332576       +Dental Arts Laboratories, Inc,     dba Resista Temps, Inc,     241 N.E. Perry Ave,
                 Peoria, IL 61603-3625
13120582       +Discover Indy,    9760 Mayflower Park Dr,     Carmel, IN 46032-7940
13120583       +Dovenmuehle Mortgage,    1 Corporate Drive,     Suite 360,    Lake Zurich, IL 60047-8945
13120584       +Dr. Desai Hari,    8611 Ennis Drive,    Indianapolis, IN 46237-9126
13120585       +Dr. Kimmel,    7397 N 600 W, Suite 400,     Mc Cordsville, IN 46055-9381
13120590        EServices,    Dept. CH 10677,    Palatine, IL 60067
13120587       +Ebsco Information Services,     10 Estes Street,    Ipswich, MA 01938-2106
13120593       +Gas City Utilities,    200 East N.A. Street,     Gas City, IN 46933-1428
13120594       +Gemini Management,    9111 Crawfordsville Road,     Indianapolis, IN 46234-1519
13120595       +Glen Security Systems,    PO Box 1202,     Bartlesville, OK 74005-1202
13120596       +Glidewell Laboratories,    4141 MacArthur Boulevard,      Newport Beach, CA 92660-2015
13120597       +Grant County Sheriff,    214 East 4th Street,     Marion, IN 46952-4026
13120598       +Grant County Treasurer,    10333 N Meridian Street, Suite 270,      Indianapolis, IN 46290-1144
13120606        HIBU Inc. West,    PO BOX 6600052,    Dallas, TX 75266-0052
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13120609       +HSE Utilities,    PO BOX 6330,    Fishers, IN 46038-6330
13120600       +Hamilton Southeastern Utilities,     P.O. Box 6330,     Fishers, IN 46038-6330
13120601        Hanson Beverage,    355 West Maiden Lane,     Saint Joseph, MI 49085-9553
13120602       +Hayes Air Conditioning,     606 E. Cherokee,    PO Box 676,    Nowata, OK 74048-0676
13120603       +Heat Pro,    704 West Jefferson Street,     Tipton, IN 46072-1822
13120604        Henry Schein,     Dept. CH 10560,    Palatine, IL 60055-0560
13120605       +Henry Schein, Inc.,    5445 Guion Road,     Indianapolis, IN 46254-1778
13202360       +Hibu Inc f/k/a Yellowbook Inc,     c/o RMS Bankruptcy Recovery Services,      P.O. Box 5126,
                 Timonium, MD 21094-5126
13120610       +Indiana Business Solutions,     8227 NW Blvd, Suite 200,     Indianapolis, IN 46278-1386
13120612       +Indiana Dept. of Workforce Development,      Collection Enforcement Unit,
                 10 N. Senate Avenue, Room 200,     Indianapolis, IN 46204-2201
13120613       +Indiana Medicaid,    c/o FSSA Compliance Division,      402 West Washington Street, Rm E-414,
                 Indianapolis, IN 46204-2773
13409540       +Indiana Members Credit Union,     c/o Travis J. Spencer,     6100 N. Keystone Ave.,    Ste 203,
                 Indianapolis, IN 46220-2426
13431375        Indiana Members Credit Union, of Indianapolis, Ind,       c/o Krieg DeVault LLP,
                 One Indiana Square, Suite 2800,     Indianapolis, IN 46204-2079
13120616        Indiana Oxygen Company,     PO BOX 78588,    Indianapolis, IN 46278-0588
13120618       +Jackson Co. Water,    PO Box 56,    Brownstown, IN 47220-0056
13120620        John Hattabaugh,    855 S 740 West,    Medora, IN 47260
13120622        Jordan Stafford,    10558 West S.R. 28,     Kempton, IN 46049
13120624       +Keleher Outdoor Advertising,     PO Box 1361,    Bartlesville, OK 74005-1361
13120625       +Kevin Cocquyt,    c/o Michael Ray Smith,     11650 Lantern Road, Suite 119,
                 Fishers, IN 46038-3097
13120627        Krieg DeVault,    Attn: Kay Dee Baird,      One Indiana Square, Suite 2800,
                 Indianapolis, IN 46204-2079
13120628       +Krystyn Stevens,    895 Parliament Place, #732,     Greenwood, IN 46142-5615
13120629       +Law Office of Alan Culwell, LLC,     11988 Fishers Crossing Drive, Suite 200,
                 Fishers, IN 46038-2714
13120630       +Lease Finance Group, LLC,     233 N. Michigan Avenue,     Chicago, IL 60601-5502
13120631       +Lee Construction Company,     11498 N. 3980 Rd.,    Dewey, OK 74029-3874
13120635       +MCI,   PO Box 37838,    Pittsburgh, PA 15250-0001
13120636        MCI Business Gold,    PO Box 660206,    Dallas, TX 75266-0206
13120633       +Mark Spencer,    118 W 2nd Street,    Bartlesville, OK 74003-2609
13120634       +McCormack Printing Impressions,     618 Oak Street,     Tipton, IN 46072-1142
13120637        Medical Arts Press,    100 Schelter Road,     Lincolnshire, IL 60069-3621
13120638       +Medicare Part B,    PO Box 6160,    Indianapolis, IN 46206-6160
13120640       +Midwest Natural Gas,    PO Box 707,    Scottsburg, IN 47170-0707
13120641       +Mobile Power Holdings LLC,     14074 Trade Center Drive,     Fishers, IN 46038-4563
13120645        NWP Services Corporation,     PO BOX 553178,    Detroit, MI 48255-3178
13120646       +NYX Hotel Cancun Resort Holding Int.,      PO Box 96058,    Las Vegas, NV 89193-6058
13120642       +Nationwide Mutual Insurance Company,      PO Box 2057,    Kalispell, MT 59903-2057
13120643       +Nickloy & Higdon,    5540 Peddle Village Lane, Suite 300,      Noblesville, IN 46062-7411
13120644       +Now Courier,    111 E. McCarty,    Indianapolis, IN 46225-3322
13120647        Oklahoma Natural Gas,    PO Box 219296,     Kansas City, MO 64121-9296
13234987       +Old National Bank,    Attn: Jim Brown,     900 E. 96th St. #500,    Indianapolis, IN 46240-3876
13120651        Patterson Dental Supply,     23254 Network Place,    Chicago, IL 60673-1232
13120653       +Paul & Associates Business Consultants,      c/o Thomas Alexander Aycock,
                 14074 Trade Center Drive, Suite 221,      Fishers, IN 46038-4576
13120652       +Paul & Associates Business Consultants,      c/o Thomas Aycock,
                 14074 Trade Center Drive, Suite 221,      Fishers, IN 46038-4576
13120654       +Perf-Turf Lawn,    PO BOX 554,    Elwood, IN 46036-0554
13120655       +Phoenix Insurance,    316 SE Shawnee,     Bartlesville, OK 74003-3921
13120656       +Plaster Shak,    1797 Old S. Road 37,     Greenwood, IN 46143-9186
13120657       +Precision Comfort Systems,     1011 Kendall Court,     Westfield, IN 46074-9557
13120660        Public Service Company of Oklahoma,     PO Box 24401,     Canton, OH 44701-4401
13120661        Quantium Labs,    452 Northco Drive, Suite 180,     Minneapolis, MN 55432-3308
13120662        Republic Waste,     PO Box 9001099,    Louisville, KY 40290-1099
13120663       +Resista Temps, Inc.,    8930 Bash Street, Suite M,      Indianapolis, IN 46256-1285
13120664        Resort Recovery Solutions,     PO BOX 880772,    San Diego, CA 92168-0772
13120665        Riverview Hospital,    PO BOX 20830,    Indianapolis, IN 46220-0830
13120666       +Riverview Medical Group,     PO Box 1180,    Sharpsburg, GA 30277-0964
13120668        Rubin and Levin,    342 Massachusetts Avenue,     500 Marott Center,    Indianapolis, IN 46204-2161
13120671       +Safco Dental Supply,    1111 Corporate Grove Drive,      Buffalo Grove, IL 60089-4546
13120673       +Shelly Guzman,    14350 Mundy Drive,    Ste 800-288,     Noblesville, IN 46060-7223
13120674       +Spencer Management,    118 West 2nd Street,     Bartlesville, OK 74003-2609
13120675        Stafford Lawn Care,    10556 West SR 28,     Kempton, IN 46049
13120678      #+Stephen J. Hyatt,    Hyatt & Rosenbaum,     6100 N. Keystone Avenue, Suite 203,
                 Indianapolis, IN 46220-2426
13120679        Stericycle,    PO Box 6575,    Carol Stream, IL 60197-6575
13120680       +Steven C. Earnhart, Esq.,     151 N. Delaware Street, Suite 1900,     Indianapolis, IN 46204-2505
13120681       +Steven M. Erwin,    c/o Thomas Alexander Aycock,     14074 Trade Center Drive, Suite 221,
                 Fishers, IN 46038-4576
13120682       +Summers PHC,    1150 South Dixon Road,     Kokomo, IN 46902-6051
13120683        Super Media,    PO Box 919810,    Dallas, TX 75261-9810
13120685       +Tactic Marketing,    PO Box 441594,    Indianapolis, IN 46244-1594
13120686        Terminix,    5595 West 47th Street,    Indianapolis, IN 46268
13120687        The Hartford,    PO Box 660916,    Dallas, TX 75266-0916
13120688       +Thomas Aycock, Esq,    14074 Trade Center Drive, Suite 221,      Fishers, IN 46038-4576
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13120689       +Tipton Dry Cleaners,    135 S. West Street,    Tipton, IN 46072-1847
13120690       +Tonya Bowlin,    112 S McClellan Way,    Salem, IN 47167-9796
13120691       +Travelers Indemnity Co.,    77 Hartland St, Suite 401,    PO BOX 280410,
                 East Hartford, CT 06128-0410
13120692       +U.S. Attorney’s Office,    10 West Market Street, Suite 2100,    Indianapolis, IN 46204-1986
13120696       +US Dental Corporation,    PO BOX 724,    Lakeside, MT 59922-0724
13120699        Weaver Creek Property Owners,    PO Box 742,    Elwood, IN 46036
13120700       +Winford Bledsoe,    22020 Riverwood Avenue,    Noblesville, IN 46062-9561
13120701       +Yeager Properties,    23 South 8th Street,    Noblesville, IN 46060-2632
13120702       +Yellow Book,   PO Box 660052,    Dallas, TX 75266-0052
13120703       +Zahn Dental Company,    135 Duryea Road,    Melville, NY 11747-3834

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
13120607        EDI: HNDA.COM Feb 06 2019 05:18:00      Honda Financial Services,      Attn: Bankruptcy Noticing,
                 PO BOX 1844,    Alpharetta, GA 30023
13120608        EDI: HNDA.COM Feb 06 2019 05:18:00      Honda Financial Services,      P.O. Box 5308,
                 Elgin, IL 60121
13120539       +EDI: ATTWIREBK.COM Feb 06 2019 05:18:00       AT&T,    PO Box 5093,    Carol Stream, IL 60197-5093
13120540        EDI: ATTWIREBK.COM Feb 06 2019 05:18:00       AT&T,    PO Box 5014,    Carol Stream, IL 60197-5014
13120541       +EDI: ATTWIREBK.COM Feb 06 2019 05:18:00       AT&T,    P.O. Box 8100,    Aurora, IL 60507-8100
13418616       +EDI: CINGMIDLAND.COM Feb 06 2019 05:18:00       AT&T Mobility II LLC,     %AT&T SERVICES INC.,
                 KAREN A. CAVAGNARO PARALEGAL,     ONE AT&T WAY, SUITE 3A104,      BEDMINSTER, NJ. 07921-2693
13387364        EDI: BECKLEE.COM Feb 06 2019 05:18:00       American Express Bank FSB,      c/o Becket and Lee LLP,
                 POB 3001,    Malvern PA 19355-0701
13120537       +EDI: HNDA.COM Feb 06 2019 05:18:00      American Honda Finance Company,
                 2170 Point Blvd, Suite 100,    Elgin, IL 60123-7875
13120565       +E-mail/Text: sstevenson@noblesville.in.us Feb 06 2019 00:23:26         City of Noblesville,
                 197 West Washington Street,    Noblesville, IN 46060-3254
13120567       +E-mail/Text: Mbbankbknotice@mbfinancial.com Feb 06 2019 00:25:03         Cole Taylor Bank,
                 c/o MB Financial Bank,    6111 N River Road,    Des Plaines, IL 60018-5111
13120568       +E-mail/Text: collspldata1@sbcglobal.net Feb 06 2019 00:23:32         Collection Specialists,
                 922 Meridian Street Plaza,    PO BOX 1156,    Anderson, IN 46015-1156
13120573        EDI: AMEREXPR.COM Feb 06 2019 05:18:00       Costco American Express,     PO Box 650448,
                 Dallas, TX 75265-0448
13120581        E-mail/Text: accounting@denmat.com Feb 06 2019 00:23:13        Denmat Holdings,     PO Box 1729,
                 Lompoc, CA 93438-1729
13120586        E-mail/Text: lynn.colombo@duke-energy.com Feb 06 2019 00:24:45         Duke Energy,    P.O. Box 1326,
                 Charlotte, NC 28201-1326
13300246       +E-mail/Text: lynn.colombo@duke-energy.com Feb 06 2019 00:24:45
                 Duke Energy Shared Services, Inc.,    P.O. Box 1321 DEC45A,       Legal Bankruptcy,
                 Charlotte NC 28201-1321
13120588        E-mail/Text: rclark@weendeavor.com Feb 06 2019 00:25:14        Endeavor Communications,
                 2 SW Street,    PO Box 237,   Cloverdale, IN 46120-0237
13120592        E-mail/Text: bankruptcynotification@ftr.com Feb 06 2019 00:24:58         Frontier,    PO Box 20550,
                 Rochester, NY 14602-0550
13120591        E-mail/Text: fieldcomp@foresters.com Feb 06 2019 00:24:32        Foresters,     P O BOX 179,
                 Buffalo, NY 14201-0179
13120599       +E-mail/Text: hskeens@grantcounty.net Feb 06 2019 00:23:34        Grant County Treasurer,
                 401 S Adams St,    Marion, IN 46953-2099
13120611        E-mail/Text: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV Feb 06 2019 00:25:12
                 Indiana Department of Revenue,    100 N. Senate Avenue,     Room N203-Bankruptcy,
                 Indianapolis, IN 46204
13120614       +E-mail/Text: cbrush@imcu.com Feb 06 2019 00:23:23        Indiana Members Credit Union,
                 5103 Madison Avenue,    Indianapolis, IN 46227-4284
13120615       +E-mail/Text: cbrush@imcu.com Feb 06 2019 00:23:23        Indiana Members Credit Union,
                 P.O. Box 47769,    Indianapolis, IN 46247-0769
13120617        EDI: IRS.COM Feb 06 2019 05:18:00      Internal Revenue Service,      PO BOX 7346,
                 Philadelphia, PA 19101-7346
13120619       +EDI: RMSC.COM Feb 06 2019 05:18:00      JC Penney,     PO BOX 965007,    Orlando, FL 32896-5007
13120626       +EDI: CBSKOHLS.COM Feb 06 2019 05:18:00       Kohl’s,    PO Box 3115,    Milwaukee, WI 53201-3115
13120632       +EDI: RMSC.COM Feb 06 2019 05:18:00      Lowe’s,     PO BOX 530914,    Atlanta, GA 30353-0914
13120648       +E-mail/Text: bankruptcy@oldnational.com Feb 06 2019 00:24:27         Old National Bank,
                 Attn: Bankruptcy Department,    PO BOX 867,    Evansville, IN 47705-0867
13120649       +E-mail/Text: bankruptcy@oldnational.com Feb 06 2019 00:24:28         Old National Bank,
                 P.O. Box 3728,    Evansville, IN 47736-3728
13120650       +EDI: RMSC.COM Feb 06 2019 05:18:00      Old Navy/Synchrony Bank,      PO Box 965005,
                 Orlando, FL 32896-5005
13120659       +EDI: PFAL Feb 06 2019 05:18:00      Providence Funding,     PO Box 5914,
                 Santa Rosa, CA 95402-5914
13120669       +E-mail/Text: Jason.Richmond@Rumpke.com Feb 06 2019 00:24:25         Rumpke,    PO Box 538710,
                 Cincinnati, OH 45253-8710
13120536        EDI: AGFINANCE.COM Feb 06 2019 05:18:00       American General Life Insurance,      PO BOX 4373,
                 Houston, TX 77210-4373
13120672       +EDI: RMSC.COM Feb 06 2019 05:18:00      Sam’s Club Discover Card,      P.O. Box 960013,
                 Orlando, FL 32896-0013
13120676       +E-mail/Text: amcl@starfinancial.com Feb 06 2019 00:24:51        Star,    735 Main Street,
                 Anderson, IN 46016-1515
13120677       +E-mail/Text: amcl@starfinancial.com Feb 06 2019 00:24:51        Star Financial Bank,
                 735 Main Street,    Anderson, IN 46016-1515
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Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
13120684        E-mail/Text: rmbncreports@supermedia.com Feb 06 2019 00:24:01       Supermedia,   PO Box 619810,
                 DFW Airport,   Dallas, TX 75261-9810
13417359        EDI: RMSC.COM Feb 06 2019 05:18:00      Synchrony Bank,    c/o Recovery Management Systems Corp,
                 25 SE 2nd Ave Suite 1120,    Miami FL 33131-1605
13120695        EDI: USBANKARS.COM Feb 06 2019 05:18:00      US Bank,   PO Box 790408,
                 Saint Louis, MO 63179-0408
13120693       +E-mail/Text: accountsreceivable@ultradent.com Feb 06 2019 00:24:16       Ultradent Products,
                 505 West 10200 S.,   South Jordan, UT 84095-3800
13120694        E-mail/Text: bankruptcy@unum.com Feb 06 2019 00:23:13
                 Unum Life Insurance Company of America,    PO Box 409548,    Atlanta, GA 30384-9548
13120697        E-mail/Text: bankruptcynotification@vectren.com Feb 06 2019 00:23:40
                 Vectren Energy Delivery,   PO BOX 6248,    Indianapolis, IN 46206-6248
13120698        EDI: VERIZONCOMB.COM Feb 06 2019 05:18:00      Verizon Wireless,    PO BOX 25505,
                 Lehigh Valley, PA 18002-5505
                                                                                              TOTAL: 42

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Shelly Guzman,   12149 Cedar Crest Court,    Noblesville
13120538        ##Assurant Health,   PO Box 3227,    Milwaukee, WI 53201-3227
13120623       ##+Kaye Research Laboratories,   165B Tomaquag Road,    PO Box 375,    Ashaway, RI 02804-0004
13428418       ##+Kevin Cocquyt,   14317 Ryan Dr.,    Fishers, IN 46038-5266
13120639        ##Midway Dental Supply,   701 N Michigan Street,    Lakeville, IN 46536-9768
13120658       ##+Professional Office Systems,    4410 Lake Avenue,   Fort Wayne, IN 46815-7224
13120667       ##+RMS,   77 Hartland Street, Suite 401,    PO BOX 280410,    East Hartford, CT 06128-0410
13120670       ##+Ryan Wilhelm Bledsoe,   1150 S Clarizz Blvd, Apt 372,    Bloomington, IN 47401-4279
                                                                                                TOTALS: 1, * 0, ## 7

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 07, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 5, 2019 at the address(es) listed below:
              Alan Lee Culwell, Jr.    on behalf of Creditor Kevin Cocquyt alc@alanculwell.com
              Alan Lee Culwell, Jr.    on behalf of Creditor    American Estate & Trust, LC FBO Kevin Cocquyt
               Trad alc@alanculwell.com
              Brian Daniel Schellenberg    on behalf of Debtor Fennis S Bledsoe bankruptcybrian@gmail.com,
               brianschellenberglaw@gmail.com;r47074@notify.bestcase.com
              C Daniel Motsinger    on behalf of Creditor    Indiana Members Credit Union cmotsinger@kdlegal.com,
               cmotsinger@kdlegal.com;crbpgpleadings@kdlegal.com;shammersley@kdlegal.com
              Crystal Lynn Saresky    on behalf of Creditor    MB Financial Bank, National Association
               bankruptcies@gernerlaw.com
              Curt Derek Hochbein    on behalf of Plaintiff Deborah Caruso chochbein@rubin-levin.net,
               mralph@rubin-levin.net;lking@rubin-levin.net;atty_chochbein@bluestylus.com
              Curt Derek Hochbein    on behalf of Trustee Deborah J. Caruso chochbein@rubin-levin.net,
               mralph@rubin-levin.net;lking@rubin-levin.net;atty_chochbein@bluestylus.com
              Deborah Caruso     on behalf of Trustee Deborah J. Caruso dcaruso@rubin-levin.net,
               dwright@rubin-levin.net;jkrichbaum@rubin-levin.net;atty_dcaruso@bluestylus.com
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District/off: 0756-1          User: admin                 Page 5 of 5                  Date Rcvd: Feb 05, 2019
                              Form ID: b318               Total Noticed: 181


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Deborah Caruso     on behalf of Plaintiff Deborah Caruso dcaruso@rubin-levin.net,
               dwright@rubin-levin.net;jkrichbaum@rubin-levin.net;atty_dcaruso@bluestylus.com
              Deborah J. Caruso    trusteecaruso@rubin-levin.net, DJC@trustesolutions.net
              Jay Jaffe     on behalf of Creditor Kevin Cocquyt jay.jaffe@faegrebd.com,
               noticeFRindy@faegrebd.com
              Joel E Harvey    on behalf of Creditor    Ameriana Bank jharvey@hcclaw.com
              Jonathan David Luke    on behalf of Creditor    American Estate & Trust, LC FBO Kevin Cocquyt Trad
               jdl@culwellandluke.com
              Jonathan David Luke    on behalf of Creditor Kevin Cocquyt jdl@culwellandluke.com
              Kay Dee Baird    on behalf of Creditor    Indiana Members Credit Union kbaird@kdlegal.com,
               rhobdy@kdlegal.com;crbpgpleadings@kdlegal.com
              Meredith R. Theisen    on behalf of Trustee Deborah J. Caruso mtheisen@rubin-levin.net,
               dwright@rubin-levin.net;mcruser@rubin-levin.net
              Michael E. Farrer    on behalf of Defendant Thomas Thomas bjpine@bfwlawyers.com
              Michael E. Farrer    on behalf of Defendant Jennie Thomas bjpine@bfwlawyers.com
              Michael E. Farrer    on behalf of Defendant Mary M Parr bjpine@bfwlawyers.com
              Michael E. Farrer    on behalf of Defendant Curtis D Parr bjpine@bfwlawyers.com
              Scott A. Kainrath    on behalf of Defendant Jennie Thomas scott@kainrathlaw.com,
               bpine@grfwlaw.com
              Scott A. Kainrath    on behalf of Plaintiff Deborah Caruso scott@kainrathlaw.com,
               bpine@grfwlaw.com
              Scott A. Kainrath    on behalf of Defendant Mary M Parr scott@kainrathlaw.com, bpine@grfwlaw.com
              Scott A. Kainrath    on behalf of Defendant Curtis D Parr scott@kainrathlaw.com, bpine@grfwlaw.com
              Scott A. Kainrath    on behalf of Defendant Thomas Thomas scott@kainrathlaw.com,
               bpine@grfwlaw.com
              Scott D. Nabke    on behalf of Creditor    Provident Funding Associates, L.P.
               bkecfnotices@blommerpeterman.com
              Shannon Kathleen Cummings    on behalf of Creditor    Provident Funding Associates, L.P.
               bkecfnotices@blommerpeterman.com
              Steven C. Earnhart    on behalf of Creditor    Bishops Pond Condominium HOA
               earnhart@indiana-attorneys.com, meloche@indiana-attorneys.com
              Steven Wayne Kincaid    on behalf of Defendant Curtis D Parr skincaid@kincaidandkincaidlaw.com
              Steven Wayne Kincaid    on behalf of Defendant Thomas Thomas skincaid@kincaidandkincaidlaw.com
              Steven Wayne Kincaid    on behalf of Defendant Mary M Parr skincaid@kincaidandkincaidlaw.com
              Steven Wayne Kincaid    on behalf of Defendant Jennie Thomas skincaid@kincaidandkincaidlaw.com
              Thomas A. Aycock    on behalf of Creditor    Paul and Associates Business Consultants LLC
               aycocklawoffice@gmail.com
              U.S. Trustee    ustpregion10.in.ecf@usdoj.gov
                                                                                              TOTAL: 34
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Information to identify the case:
                    Fennis S Bledsoe                                   Social Security number or ITIN:   xxx−xx−7421
Debtor:
                    Name                                               EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court − Southern District of Indiana
Case number:        14−09753−RLM−7A



Order of Discharge                                                                                                           12/2015

IT IS ORDERED that a discharge under 11 U.S.C. § 727 is granted to the following debtor:

           Fennis S Bledsoe
           aka Nick Bledsoe



Dated: February 5, 2019                                             By the court: /s/ Robyn L. Moberly
                                                                                  Judge, U.S. Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                     Pursuant to 11 U.S.C. § 524(c) or (f), this order
and it does not determine how much money, if                       does not prevent the debtor from paying any debt
any, the trustee will pay creditors.                               voluntarily or from paying reaffirmed debts
                                                                   according to the reaffirmation agreement.
Creditors cannot collect discharged debts
This order means that no one may make any                          Most debts are discharged
attempt to collect a discharged debt from the                      Most debts are covered by the discharge, but not
debtor personally. For example, creditors cannot                   all. Generally, a discharge removes the debtor's
sue, garnish wages, assert a deficiency, or                        personal liability for debts owed before the
otherwise try to collect from the debtor personally                debtor's bankruptcy case was filed.
on discharged debts. Creditors cannot contact the
debtor by mail, phone, or otherwise in any attempt                 Also, if this case began under a different chapter
to collect the debt personally. Creditors who                      of the Bankruptcy Code and was later converted
violate this order can be required to pay the                      to chapter 7, debts owed before the conversion
debtor damages and attorney's fees.                                are discharged.
However, a creditor with a lien may enforce a                      In a case involving community property, special
claim against the debtor's property subject to that                rules protect certain community property owned
lien unless the lien was avoided or eliminated. For                by the debtor's spouse, even if that spouse did
example, a creditor may have the right to                          not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.
                                                                                                    For more information, see page 2 >




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Debtor Fennis S Bledsoe                                                                    Case number 14−09753−RLM−7A

Explanation of Bankruptcy Discharge in a Chapter 7 Case (continued)


Some debts are not discharged                                     Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are                     agreement are not discharged.
listed below:
                                                                  In addition, this discharge does not stop creditors
• Debts that are domestic support obligations.                    from collecting from anyone else who is also
                                                                  liable on the debt, such as an insurance company
• Debts for most student loans.                                   or a person who cosigned or guaranteed a loan.

• Debts for most taxes.
                                                                    This information is only a general summary
• Debts that the bankruptcy court has decided or                    of the bankruptcy discharge; some
  will decide are not discharged in this bankruptcy                 exceptions exist. Because the law is
  case.                                                             complicated, you should consult an
                                                                    attorney to determine the exact effect of the
• Debts for most fines, penalties, forfeitures, or                  discharge in this case.
  criminal restitution obligations.
• Some debts which the debtor did not properly
  list.

• Debts for certain types of loans owed to
  pension, profit sharing, stock bonus, or
  retirement plans.

• Debts for death or personal injury caused by
  operating a vehicle while intoxicated.




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